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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                               CASE NO. 23-80101(s)-CR-CANNON

   UNITED STATES OF AMERICA,

           Plaintiff,

   v.

   DONALD J. TRUMP,
   WALTINE NAUTA, and
   CARLOS DE OLIVEIRA,

         Defendants.
   ________________________________/

                                        PROPOSED ORDER

           THIS CAUSE comes before the Court upon the Government’s Motion for Leave to File

   Exhibit Ex Parte and Under Seal [ECF No. ___]. The Court has reviewed the Motion, and upon

   due consideration, the Motion is GRANTED. It is hereby

           ORDERED that the Government shall file the exhibit in question ex parte and under seal;

   and it is further

           ORDERED that the Clerk of Court docket the exhibit as a sealed entry; and it is further

           ORDERED that when the investigation to which the exhibit relates is either closed or

   resolved by adjudication of any resultant charges, the Government shall so advise the Court; and

   it is further

           ORDERED that the exhibit shall remain sealed until further order of the Court.

   DONE AND ORDERED in Chambers at Fort Pierce, Florida, this ___ day of February, 2024.



                                                       AILEEN M. CANNON
                                                       UNITED STATES DISTRICT JUDGE
